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   1. Document Ref: Elad Shitrit_EN
   2. Document Ref: Hatzlakha_EN
Original Language: Hebrew
Translated Language: English




Name: Michael Katzenstein
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Date: January 5, 2025




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